Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 1 of 118 PageID.402




            &9)*#*5
Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 2 of 118 PageID.403
      Case 1:20-cr-00068-LEK                     Document 55-2                Filed 05/04/22       Page 3 of 118 PageID.404
AO 110 (Rev. 06/09; DC 4/10) Subpoena to Testify Before Grand Jury (Page 2)




                                                            PROOF OF SERVICE



          This subpoena for (name of individual or organization)
was received by me on (date)                                     .

          I served the subpoena by delivering a copy to the named person as follows:


                                                                                       on (date)                        ; or

          I returned the subpoena unexecuted because:
                                                                                                                               .




         I declare under penalty of perjury that this information is true.



Date:
                                                                                                   Server’s signature



                                                                                               Printed name and title




                                                                                                   Server’s address

Additional information regarding attempted service, etc:
Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 4 of 118 PageID.405
Case 1:20-cr-00068-LEK         Document 55-2        Filed 05/04/22      Page 5 of 118 PageID.406



                        38.

        B. Transfers of funds to/from any and all accounts owned or controlled by
           between May and August 2017.

        C. For the period of October 1, 2016, through the present, all records relating in any way
           to the following: Contacts and/or communications with or attempted contacts and/or
           communications with current and/or former U.S. government officials (or their agents
           or intermediaries) and/or Chinese government officials (or their agents or
           intermediaries) regarding any of the individuals and entities listed in Paragraph A.

        D. Any and all records related to or referencing registration, non-registration, and/or
           registration requirements under the Foreign Agents Registration Act of 1938, including
           but not limited to agreements, correspondence, and memoranda.

 Definitions

    1. The term “records” refers to any record in your possession, custody, or control, and it
       includes all drafts or unfinished versions of documents.

    2. The term “records” includes writings or records of every kind or character conveying
       information by mechanical, electronic, photographic, or other means, whether encarded,
       encrypted, taped, stored, or coded electrostatically, electromagnetically, or otherwise.

    3. The term “records” includes, but is not limited to: emails; text messages; instant messages;
       correspondence; memoranda; calendar entries; notes; accounting, billing, or time
       management records; bank statements; wire confirmations; documentation of cash
       payments; invoices; other financial records; books of account; working papers; check
       requests; telephone records; telephone messages; telephone message logs or slips; date
       books; interoffice communications; office notes; any electronic media and papers similar
       to any of the foregoing.

 Privileges

         If a record demanded by this subpoena is withheld under a claim of privilege, or is
 otherwise withheld, provide the following information regarding the record: (1) its date; (2) the
 name and title of its author(s); (3) the name and title of each person to whom it was addressed,
 distributed, and disclosed; (4) the number of pages; (5) an identification of any attachments or
 appendices; (6) a general description of its subject matter; (7) its present location and the name of
 its present custodian; (8) the paragraph of this subpoena to which it is responsive; and (9) the
 nature of the claimed privilege or other reason the document is withheld.

 RECORD FORMAT: Records are requested to be provided in electronic format via email
 attachment files or on compact disks (CDs) if the information listed above is stored
 electronically.
Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 6 of 118 PageID.407
Case 1:20-cr-00068-LEK    Document 55-2     Filed 05/04/22   Page 7 of 118 PageID.408




                                  Advice of Rights

 You have been subpoenaed to appear before a federal grand jury. This notice is
 provided to you in order to provide helpful background information about the grand
 jury. The grand jury consists of from sixteen to twenty-three persons from the
 District of Columbia. It is their responsibility to inquire into federal crimes which
 may have been committed in this District. The grand jury is conducting an
 investigation of possible violations of federal criminal laws involving, but not
 necessarily limited to, 18 U.S.C. §§ 371 and 1956, and 22 U.S.C. § 611, et seq., for
 conspiracy to interfere or obstruct lawful government functions through dishonest
 means, conspiracy to act as an unregistered foreign agent, conspiracy to commit
 international promotion money laundering by funneling proceeds from overseas into
 the U.S. to promote violations of the Foreign Agents Registration Act (FARA), and
 substantive violations of the foregoing statutes. Your conduct is being investigated
 for possible violations of these laws.

 You have been asked to produce records and documents. You are advised that the
 destruction or alteration of any document required to be produced before the grand
 jury constitutes a serious violation of federal laws, including but not limited to
 obstruction of justice.

 Anything that you produce may be used against you in a subsequent legal
 proceeding.
Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 8 of 118 PageID.409




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Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 9 of 118 PageID.410
Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 10 of 118 PageID.411
Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 11 of 118 PageID.412




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Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 12 of 118 PageID.413
FD-302a (Rev. 5-8-10)
           Case 1:20-cr-00068-LEK           Document 55-2   Filed 05/04/22     Page 13 of 118 PageID.414
          58J-HN-2088847
Continuation of FD-302 of (U)   Conference call with Abbe Lowell        , On   08/26/2019   , Page   2 of 2




          Government asked her about it in her proffer interviews.

             Lowell is not    's general counsel. He represented     when     was in
          the United States. The matter Lowell counseled     on was not directly
          related to   . Lowell does not understand what conflict might exist since he
          does not have a duty to report anything to someone he represented three (3)
          years ago.

             When asked if Lowell currently represents             ( ), Lowell
          responded that he cannot answer whether he has ever given legal advice to
            , but that hypothetically, if he was retained by    to offer legal advice
          on his business and whether his daughter should take over the business, that
          has no bearing on LUM DAVIS' case and therefore would not generate a
          conflict. According to Lowell, he has no obligation to tell    or     what
          LUM DAVIS is reporting to the Government in her proffer interviews, even
          when the information directly relates to them. Lowell stated he did not
          engage in "traditional legal representation" with     and/or   .

             At another point in the conversation, Lowell indicated his representation
          of     and/or    was in existence at the time of   's arrest [the Government
          knows this to be the time period surrounding September 2015]. Lowell
          discussed visiting    but did not elaborate further.

             Before the conclusion of the phone call, the Government asked Lowell if
          he was currently representing     or     to which Lowell replied, "I can't
          answer that question. I won't tell you what my client relationships are or
          what legal advice I have given to whom."
Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 14 of 118 PageID.415




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Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 15 of 118 PageID.416
FD-302a (Rev. 5-8-10)
           Case 1:20-cr-00068-LEK    Document 55-2       Filed 05/04/22     Page 16 of 118 PageID.417
          58J-HN-2088847
                          (U) Follow-up conference call with Abbe
Continuation of FD-302 of Lowell on August 28, 2019                  , On   08/28/2019   , Page   2 of 2




          LUM DAVIS says about the topics the Government has discussed or will discuss
          with LUM DAVIS. Lowell believed that in any event, whatever LUM DAVIS has
          to say about    and     would be benign. Furthermore, Lowell assured the
          Government that LUM DAVIS is already aware of Lowell's relationship with
             and    .

            Lowell added this may be a purely academic exercise, as he was under the
          impression the parties were at an impasse after the last LUM DAVIS proffer
          session (held on July 30, 2019) and the subsequent discussions Lowell had
          with the DOJ Public Integrity Section.

            Lowell recalled he spoke with EDNY AUSA Ian Richardson about    and/or
              approximately four years prior on an "unrelated" matter. The Government
          stated it was still unclear as to what relationship Lowell has or had with
             and    ; the Government believed it was more recent than what Lowell's
          statements indicated. Lowell responded, "By making the unequivocal
          statements I've made, that should address your concerns." Lowell stated he
          could not tell the Government about people Lowell has spoken to in the
          course of the representation, as it would be violating his attorney-client
          work product.

             Lowell has known LUM DAVIS "for a while". When this latest
          representation emerged, Lowell made sure LUM DAVIS knew about other people
          who might be in the same realm. Lowell had no idea      was one of those
          people, and had no idea of any connections between LUM DAVIS,    , and
          until the Government asked LUM DAVIS about them. Lowell addressed it with
          LUM DAVIS once      came up. Lowell encouraged LUM DAVIS to consult a third
          party regarding this specific issue, and LUM DAVIS did conduct such a
          consultation. Lowell had another conversation with LUM DAVIS on August 26,
          2019, following the first conference call in which the Government raised
          concern over an apparent conflict; LUM DAVIS is comfortable with Lowell's
          prior relationship.

             Lowell reiterated that unequivocally, there is no conflict. Lowell
          suggested the parties take "a timeout for a measurement", as things have
          gone "sideways".
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             &9)*#*5
     Case 1:20-cr-00068-LEK           Document 55-2         Filed 05/04/22      Page 18 of 118 PageID.419



From:                            Claffee, Scott (NSD)
Sent:                            Monday, April 6, 2020 1:45 PM
To:                              adlowell@
Cc:                              Van Grack, Brandon (NSD); Hunt, Heather H. (NSD)
Subject:                         Letter from DOJ FARA Unit
Attachments:                     AL FARA LOI 04.06.20.pdf


Dear Mr. Lowell,

Please see the attached correspondence on behalf of the FARA Unit of DOJ’s National Security Division.

Best regards,

Scott A. Claffee
Trial Attorney
Counterintelligence & Export Control Section
U.S. Dept. of Justice, National Security Division
Currently assigned to the New York metropolitan area
NY:
DC:
Mobile:




                                                           1
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Case 1:20-cr-00068-LEK             Document 55-2               Filed 05/04/22   Page 20 of 118 PageID.421


   From:             Keller, John (CRM)
   To:               Richardson, Ian (USANYE) 1; Van Grack, Brandon (NSD)
   Subject:          Abbe Lowell
   Date:             Thursday, June 18, 2020 3:22:00 PM


  Ian and Brandon,

  I hope you are both well. Could we set a time in the near future to discuss Abbe Lowell?

  -John

  John D. Keller
  Principal Deputy Chief
  Public Integrity Section
  United States Department of Justice
  1331 F St. NW | Washington, D.C. 20004
                 (Desk) |             (Cell)
Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 21 of 118 PageID.422




             &9)*#*5
Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 22 of 118 PageID.423
         Case 1:20-cr-00068-LEK         Document 55-2          Filed 05/04/22       Page 23 of 118 PageID.424
We'dliketodiscussMs.LumDavisagainwithyou.Irealizethatweareontheeveofasummerholiday,sonextweekis
fine.

MaybesometimethemorningofTuesday,July7?

Ihopethatyou,yourfamily,colleagues,andclientsareallhealthydespitethepandemic.

ͲJohn


JohnD.Keller
PrincipalDeputyChief
PublicIntegritySection
UnitedStatesDepartmentofJustice
1331FSt.NW|Washington,D.C.20004
               (Desk)|           (Cell)



ͲͲͲͲͲOriginalMessageͲͲͲͲͲ
From:Lowell,AbbeDavid<ADLowell@                
Sent:Friday,August23,201910:17AM
To:Keller,John(CRM)<                              
Cc:Richardson,Ian(USANYE)1                           >;Crawley,MeganL.(HN)(FBI)                       ;
Porter,Jennie                       >;Kramer,RossM.                        >
Subject:Re:LumDavisCall

Iambackand3PMMondayworksfine.

AbbeDavidLowell

Partner

Winston&StrawnLLP
1700KStreet,N.W.<xͲappleͲdataͲdetectors://0/1>
Washington,DC20006Ͳ3817<xͲappleͲdataͲdetectors://0/1>

D:+1               <tel:+1%20                >

F:+1               <tel:+1%202               >


200ParkAvenue<xͲappleͲdataͲdetectors://1/0>
NewYork,NY10166Ͳ4193<xͲappleͲdataͲdetectors://1/0>

D:+12              <tel:+1                   >

F:+1               <tel:+1%20                >

VCard<https://protect2.fireeye.com/v1/url?k=47d00ddfͲ1ba7b1e7Ͳ47d7293aͲac1f6b01770eͲ
6bb3aff45d0370bf&q=1&e=17e7713aͲ7e6eͲ4a89Ͳbc28Ͳ
4cb0afd041fa&u=http%3A%2F%2Fcontent.winston.com%2Fsitefiles%2Fwsvcards%2F19389.vcf>|

                                                              2
     Case 1:20-cr-00068-LEK            Document 55-2          Filed 05/04/22       Page 24 of 118 PageID.425
Email<mailto:adlowell@            winston.com<https://protect2.fireeye.com/v1/url?k=14032668Ͳ48749a50Ͳ
1404028dͲac1f6b01770eͲ0b464d759cd637aa&q=1&e=17e7713aͲ7e6eͲ4a89Ͳbc28Ͳ
4cb0afd041fa&u=http%3A%2F%2Fwww.winston.com%2F>
[Winston&StrawnLLP]




OnAug23,2019,at10:08AM,Keller,John(CRM)                                                                wrote:

Abbe,

IfyouarebacknextweekcouldwetalkMondayafternoon—say3:00p.m.ET?

ͲJohn


JohnD.Keller
DeputyChief|PublicIntegritySection
CriminalDivision|UnitedStatesDepartmentofJustice
1331FSt.NW|Washington,D.C.20005
                (T)|            (F)




________________________________
Thecontentsofthismessagemaybeprivilegedandconfidential.Ifthismessagehasbeenreceivedinerror,please
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tobeused,andcannotbeused,byyou(oranyothertaxpayer)toavoidpenaltiesunderapplicabletaxlawsand
regulations.




                                                             3
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             &9)*#*5
        Case 1:20-cr-00068-LEK         Document 55-2         Filed 05/04/22       Page 26 of 118 PageID.427



From:                Lowell, Abbe <ADLowell@
Sent:                Friday, July 17, 2020 6:23 PM
To:                  Keller, John (CRM)
Cc:                  Porter, Jennie; Sorenson, Ken (USAHI); Mann, James (CRM); Mulryne, Sean (CRM); Lockhart, Nicole
                     (CRM); Man, Christopher
Subject:             FRE 408, 410 Communication


All –

I have had the chance to review the fairly detailed materials you sent and have discussions with our client. I thought
the first step is to address the issues a little generally before getting into a paragraph by paragraph review.

First, Ms. Davis wants to continue the effort to cooperate and accept appropriate responsibility as she was doing a
year ago before our conversations ended. She is eager to help with the overall matter. As our meetings indicated,
the DOJ can benefit greatly from her assistance in terms of connecting and explaining events, and reading through
the recent materials, it's certain that there are still many more areas where she can assist to connect the dots. As
we explained then, she is uniquely positioned to connect things and explain documents, meetings and their context.

Having said that, we have a number of questions about the approach reflected in the drafts. When we talked, you
asked if Ms. Davis would be amenable to a conspiracy count and we said a better course would be to consider a
substantive FARA violation. However, the statement of facts is written as a conspiracy case in any event and
seems to have been copied from such a document whether it was for her or others you may charge. One result is
that the recitation portrays her as much more than the least involved person you all stated she was last
year. Indeed, it makes her appear to be the mastermind. Whether and when she crossed a line, we discussed that
she was always an intermediary because, for example, Pras Michel insisted that only he would talk to Jho Low and
        (and the people he knew) and he would not speak directly to Broidy. Second, there are a number of things
stated in the drafts that Ms. Davis would not know and would not be able to adopt because of that.

Similarly, as to any charge for Ms. Davis to consider, it would be better for everyone if it was shorter and focused on
her conduct and not that of others. The level of detail in this draft is much more than I am used to seeing in such
documents. Even if a more detailed recitation is in an information, that each and every one of those lines is in a
plea agreement is unnecessary. In addition, my experience tells me that we would all benefit as cases continue not
to be locked into this much detail now.

Also as to the way the documents are drafted, we have to focus on when and how Ms. Davis would have
crossed any line. As drafted, a great deal of what is presented can be said to have been around efforts in legal
proceedings which would not be covered by FARA. We should review everyone’s conduct looking to those events
for which such a claim could not be made.

As to a plea agreement, once we agree on what line was crossed, we did not discuss that you would include
conduct with respect to Malaysia issues and the          issue, which is a lot different. Ms. Davis’ conduct with respect
to the Guo issue was entirely as in intermediary who made no independent contact with anyone, and believed she
was working as a U.S. patriot, without financial expectation or interest. She believed she was working in the best
interest of the U.S. and to her credit, was a key part in successfully having China release a pregnant U.S. prisoner
at the direct request of then Attorney General Jeff Sessions. The text messages show that she wanted the
additional prisoners to be released by July 4th - in honor of the United States Independence Day. Also, for
perspective, a well-known and very successful businessman you said is not being charged was directly and deeply
involved in connecting a foreign minister to officials in the White House, setting up meetings, etc. In addition, as to
the plea, we never discussed that your view is that every dollar she received from Pras Michel or             is to be
forfeited. We did not discuss forfeiture at all. To begin with, Ms. Davis explained the wider business she had with
Pras and         . She believed the funds from Pras came from              as part of that plan and was part of a lot more
money that was going to be put towards entertainment projects. Money she received from Colfax she understood
was using her to work on legal issues. She understood that Broidy was working to also get his own business
                                                            1
     Case 1:20-cr-00068-LEK             Document 55-2          Filed 05/04/22       Page 27 of 118 PageID.428
abroad in various other ways, but that contract she had or saw with him had to do with the legal effort to prevent a
case, charge or forfeiture. So this seems a much greater penalty than warranted from the facts or to seek as
aggressive a position from a person trying to cooperate. As a penalty for a FARA violation, this seems way too
much.

I know you said you want to go over the case next week and we happy to do so. However, the total effort may take
longer than the week you suggested. Between the density of the documents, the logistics of where Ms. Davis is and
we are, hearings I have over the next days, there is a lot to do and it will take a little time. Given that a year went by,
for whatever reasons and since Ms. Davis wants to pursue the course she stated last summer, we hope we can find
the time to do it. If your new timetable prevents that, it would be unfortunate given our goals.
  
Iknowyousaidyouwanttogooverthecasenextweekandwecandosoforsure.However,thetotaleffortmaytake
longerthantheweekyousuggested.Betweenthedensityofthedocuments,thelogisticsofwhereMs.Davisisandwe
are,hearingsIhaveoverthenextdays,thereisalottodoanditwilltakealittletime.Giventhatayearwentby,for
whateverreasonsandsinceMs.Daviswantstopursuethecourseshestatedlastsummer,wehopewecanfindthetime
todoit.Ifyournewtimetablepreventsthat,itwouldbeunfortunategivenourgoals.

Weappreciateyourconsideration.

Abbe




Abbe David Lowell
Partner
Winston & Strawn LLP
1901 L Street, N.W.
Washington, DC 20036
D: +1
F: +1               

200 Park Avenue
New York, NY 10166-4193
D: +1
F: +1
VCard | Email | winston.com






From:Keller,John(CRM)<                          
Sent:Wednesday,July15,202012:36AM
To:Lowell,Abbe<ADLowell@                 
Cc:Porter,Jennie<                          Sorenson,Ken(USAHI)                               Mann,James(CRM)
                            Mulryne,Sean(CRM)                             ;Lockhart,Nicole(CRM)
                               
Subject:DraftPleaDocuments

Abbe,

Asdiscussed,pleasefinddraftpleadocumentsattached.Thesedocumentsaresubjecttofinalapprovalatthe
DepartmentofJusticeandtheU.S.Attorneys’Officeanddonotconstituteaformalofferuntilthatapprovalis
                                                              2
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obtained.Intheinterim,pleasereviewthetermswithyourclientandletusknowifyouhaveanyproposededitsbyJuly
22.Ifweareabletoagreeonterms,afterwefinalizethedocumentsandtheleadershipattheDepartmentofJustice
andtheU.S.Attorney’sOfficehaveapprovedthefinalpleaterms,Iwilltransmittoyouafinalpleaagreementtobe
executedbyyouandyourclient.

Basedonourcall,IhavealsoattachedtwooverlappingsetsofrelevantcommunicationsbetweenyourclientandElliott
Broidy,manyofwhicharesetforthintheattacheddraftInformationandPleaAgreement.Wedidnotreceivethese
setsofcommunicationsfromyourclientinresponsetothesubpoenathatweissuedtoherandintheeventthatsheno
longerhasaccesstothecommunications,Iwantedbothyouandyourclienttohavethebenefitofbeingabletoreview
theminconnectionwithyourreviewoftheInformationandPleaAgreement.

ͲJohn

John D. Keller
Principal Deputy Chief
Public Integrity Section
United States Department of Justice
1331 F St. NW | Washington, D.C. 20004
               (Desk) |             (Cell)



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     Case 1:20-cr-00068-LEK                Document 55-2        Filed 05/04/22     Page 30 of 118 PageID.431



From:                Keller, John (CRM)
Sent:                Monday, July 13, 2020 9:51 AM
To:                  Salgado, Victor (CRM); O'Brien Waymack, Erica (CRM); Lockhart, Nicole (CRM)
Subject:             RE: Broidy Filter Request


Toddwillserveasthefilterdeputyifyouhavepleadingsforrevieworwanttodiscusswhetherspecificcommunications
areworthlitigating.

From:Salgado,Victor(CRM)<Victor.Salgado@CRM.USDOJ.GOV>
Sent:Sunday,July12,20201:20AM
To:Keller,John(CRM)<                                   O'BrienWaymack,Erica(CRM)
                                              Lockhart,Nicole(CRM)                                      
Subject:RE:BroidyFilterRequest

EricaandIarethinkingaboutseekingcourtreliefforsomeofthesecommunications.

John,asyouknow,PamHicksoversawourpriorfilingsinthismatterbutsheleftDOJinOctober2019.AsEricaandI
continueouranalysisbeforewereachadecisionpoint,wouldyoubeinclinedtoassignasupervisortooverseeour
effortsoristhissomethingwecandecideonourown?

Thanks,
Victor

From:Keller,John(CRM)                                  
Sent:Friday,July10,20202:41PM
To:O'BrienWaymack,Erica(CRM)                                                Lockhart,Nicole(CRM)
                                       
Cc:Salgado,Victor(CRM)                                          
Subject:RE:BroidyFilterRequest

Thanks,EricaandVictor.

From:O'BrienWaymack,Erica(CRM)                                                
Sent:Friday,July10,20202:40PM
To:Keller,John(CRM)                                 Lockhart,Nicole(CRM)                                        
Cc:Salgado,Victor(CRM)                                    
Subject:RE:BroidyFilterRequest

JohnandNikki–

VictorandIhavedecidedtowithholdallofthesecommunicationsonthebasisofpotentialattorneyͲclientprivilege.We
willletyouknowifourassessmentchanges.Happytodiscussfurtheroverthephoneifyou’dlike.

Erica


EricaO’BrienWaymack
TrialAttorney
                                                                1
     Case 1:20-cr-00068-LEK                   Document 55-2       Filed 05/04/22       Page 31 of 118 PageID.432
PublicIntegritySection
DepartmentofJustice,CriminalDivision
Desk:                 
Email:                                   




From:O'BrienWaymack,Erica(CRM)
Sent:Thursday,July9,202011:36AM
To:Lockhart,Nicole(CRM)                                           Keller,John(CRM)                                
Salgado,Victor(CRM)                                        
Subject:RE:BroidyFilterRequest

Nikki–FYI,theAbbeLowellcommunicationshavebeenmovedtothetaintside.I’llstartworkingontheprivilegereview
ASAP.

Erica

From:Lockhart,Nicole(CRM)                                          
Sent:Monday,June29,20202:36PM
To:O'BrienWaymack,Erica(CRM)                                                  ;Keller,John(CRM)
                                    Salgado,Victor(CRM)                                        
Subject:RE:BroidyFilterRequest

Thanksforyourhelp,Erica.

From:O'BrienWaymack,Erica(CRM)                                                     
Sent:Monday,June29,20202:33PM
To:Keller,John(CRM)<                                     Lockhart,Nicole(CRM)                                      
Salgado,Victor(CRM)                                         
Subject:RE:BroidyFilterRequest

Justaquickupdate–

    1. Theemailyoupointedustoisprivilegedandwe’llhaveitmovedovertothetaintsideASAP.
    2. Ididn’tfindanycommunicationsfromLowell’sWinston&Strawnaccountontheinvestigativeside;therewere
       severalemailsfromADLowell@                    thatwerealreadymovedthetaintside.Idid,however,locate
       commswithLowellusingtheemailaddressADLowell@                          (includingtheemailyoupointedmeto)
       ontheinvestigativeside;itwillgetaddedtothelistofattorneys,andwe’llhaveLitSupportpullanyofthose
       communicationsovertothetaintside.
    3. I’mworkingonageneralQCnowandhavenotfoundanyissuessofar;itlookslikeLowell’sChadbourneaccount
       istheonlyonethatmayhavefallenthroughthecracks.Standby.

Erica

From:Keller,John(CRM)                               
Sent:Monday,June29,202010:58AM
To:O'BrienWaymack,Erica(CRM)                                                     Lockhart,Nicole(CRM)
                                    Salgado,Victor(CRM)                                             
Subject:RE:BroidyFilterRequest


                                                                  2
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Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 33 of 118 PageID.434




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Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 34 of 118 PageID.435
Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 35 of 118 PageID.436




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      Case 1:20-cr-00068-LEK                   Document 55-2   Filed 05/04/22    Page 36 of 118 PageID.437





From:Salgado,Victor(CRM)                                    
Sent:Wednesday,August26,20204:27PM
To:DCDml_Intake@DCD.USCOURTS.GOV
Cc:O'BrienWaymack,Erica(CRM)                                             
Subject:UnderSeal:No.20ͲGJͲ00035(SupplementalFiling)

Hello,

PleaseseeattachedasupplementalfilingintheaboveͲcaptionedmatter.Courtesycopiesofthesematerialsweresent
toChiefJudgeHowell’schambersearliertoday.

Best,
Victor

Victor R. Salgado
Trial Attorney
Public Integrity Section | Criminal Division
United States Department of Justice
1331 F Street, N.W.
Washington, D.C. 20004
                 (o) | (              (c)
                          





                                                               1
Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 37 of 118 PageID.438




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Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 38 of 118 PageID.439
Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 39 of 118 PageID.440




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      Case 1:20-cr-00068-LEK                   Document 55-2      Filed 05/04/22       Page 40 of 118 PageID.441



From:                      Salgado, Victor (CRM)
Sent:                      Wednesday, August 26, 2020 9:07 PM
To:                        Lowell, Abbe; Gee, Todd (CRM)
Cc:                        O'Brien Waymack, Erica (CRM)
Subject:                   RE: Call
Attachments:               Emails.pdf


Abbe,

Asdiscussedearliertoday,pleaseseeattached.

Victor


Victor R. Salgado
Trial Attorney
Public Integrity Section | Criminal Division
United States Department of Justice
1331 F Street, N.W.
Washington, D.C. 20004
                 (o) |                (c)




From:Lowell,Abbe<ADLowell@                          
Sent:Tuesday,August25,202010:20PM
To:Gee,Todd(CRM)                                        Keller,John(CRM)                         
Cc:Salgado,Victor(CRM)                                            O'BrienWaymack,Erica(CRM)
                                                   
Subject:RE:Call

Icandoacallat2andthenafter4(whichwouldbebetter)




Abbe David Lowell
Partner
Winston & Strawn LLP
1901 L Street, N.W.
Washington, DC 20036
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F: +1               

200 Park Avenue
New York, NY 10166-4193
D: +1
F: +1



                                                                 1
       Case 1:20-cr-00068-LEK                        Document 55-2                 Filed 05/04/22               Page 41 of 118 PageID.442
VCard | Email | winston.com




From:Gee,Todd(CRM)                                              
Sent:Tuesday,August25,20209:00PM
To:Keller,John(CRM)                                           
Cc:Lowell,Abbe<ADLowell@                                   Salgado,Victor(CRM)                                                 O'BrienWaymack,
Erica(CRM)                                                        
Subject:Re:Call

Abbe,

Wewouldbefreeanytimeafter1pmtomorrow.Letusknowifthereisatimethatworksforyouthenandwecanset
upacall.

Thanks,

ToddGee
DeputyChief
PublicintegritySection
CriminalDivision
U.S.DepartmentofJustice
1331FStreetN.W.
Washington,D.C.20530Ͳ0001



OnAug25,2020,at7:56PM,Keller,John(CRM)                                                             wrote:


Abbe,

I’mconnectingyouherewithourteamonthefiltersidetofacilitateacallbetweenyouregardingtheissuewediscussed
today.

ͲJohn

John D. Keller
Principal Deputy Chief 
Public Integrity Section 
United States Department of Justice
1331 F St. NW | Washington, D.C. 20004
               (Desk) |              (Cell)




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Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 42 of 118 PageID.443




             &9)*#*5
     Case 1:20-cr-00068-LEK              Document 55-2          Filed 05/04/22        Page 43 of 118 PageID.444



From:                 Gee, Todd (CRM)
Sent:                 Wednesday, August 26, 2020 10:21 PM
To:                   Lowell, Abbe
Cc:                   Salgado, Victor (CRM); O'Brien Waymack, Erica (CRM)
Subject:              Re: Call


Abbe,

Onthefirstquestion,page32ofthePDFthatwesentoverreferences“future”contributions.Additionally,thereference
to“PlanB”maybeareferencetoacontributioninexchangeforpardonscheme(seepages24,28,and29ofthePDF).
Onthesecondquestion,we’reawareofSen.Specter’sproposedamendmentin2001,butwedisagreethattheplain
languageoftheLDAmaynotcoverlobbyingactivitiesseekingpardons/clemency.Aswediscussed,however,allofthese
mattersarewithrespecttopotentialexposuretoallegationsofLDAandbribery,itisnotussayingthosecrimeswere
necessarilycommitted.Giventhepotentialexposure,however,wewantedtobringthemattertoyourattentionsoyou
coulddiscussitwithyourclient.Pleaseletusknowifyouneedanythingelsetofacilitatethat.


Thx.

ͲTodd

OnAug26,2020,at10:00PM,Lowell,Abbe<ADLowell@                     wrote:


Thankyoufortheemailstoreview.Twoquestions:youmentionedemailsaboutsomeoneseekingorgivingalarge
politicalcontribution;Ididnotseeitinwhatyousent;didImissit?And,puttingfactsaside,Ithinkyoumentionedthe
LDAwhich,becauseofvariouspartsofthestatute,isnotappliedforattorneys’actionswithrespecttoexecutive
clemency(somuchsothatafterPresidentClintonpardonedMarcRichtherewasaspecificamendmentproposedby
Sen.ArlenSpecterandotherstoincludeitbecauseitwasnotcovered;thatamendment,Ibelieve,neverevenwas
votedonineitherhouse).DidIhearyoucorrectlysayingtheconcernwereovertheLDA?
Inanyevent,Iwillincludeourconversationandthisissueinconversationswithmyclientandothercounsel.
Abbe David Lowell 
Partner
Winston & Strawn LLP
1901 L Street, N.W.
Washington, DC 20036
D: +1               
F: +1               

200 Park Avenue                                                                                                                  
New York, NY 10166-4193
D: +1                                                                                                                           
F: +1                                                                                                                           

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<image001.jpg>



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Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 44 of 118 PageID.445
       Case 1:20-cr-00068-LEK                        Document 55-2                 Filed 05/04/22               Page 45 of 118 PageID.446
U.S.DepartmentofJustice
1331FStreetN.W.
Washington,D.C.20530Ͳ0001

                      

OnAug25,2020,at7:56PM,Keller,John(CRM)                                                            wrote:


Abbe,
I’mconnectingyouherewithourteamonthefiltersidetofacilitateacallbetweenyouregardingtheissuewediscussed
today.
ͲJohn
John D. Keller
Principal Deputy Chief 
Public Integrity Section 
United States Department of Justice
1331 F St. NW | Washington, D.C. 20004
                Desk) |              (Cell)


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                                                                                  3
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Case 1:20-cr-00068-LEK             Document 55-2           Filed 05/04/22   Page 47 of 118 PageID.448


   From:             Keller, John (CRM)
   To:               Lowell, Abbe David
   Subject:          Conflict Provision
   Date:             Tuesday, August 25, 2020 9:27:00 PM


  Abbe,

  I’ve drafted below a paragraph to be added to the plea agreement after the Waiver of Trial Rights
  Section to encompass the potential conflicts raised by the FARA letter, the issue to be discussed with
  the filter team, and the prior representation of individuals as to whom Ms. Lum Davis may provide
  information. This seems like a cleaner, more controlled way to address the potential conflict issue,
  rather than raising it at the plea hearing cold and having the court potentially initiate a full-blown
  colloquy with Ms. Davis about her understanding of the potential issues and conflict:

  Waiver of any Potential Conflict of Interest

  The defendant understands that one of her attorneys, Abbe D. Lowell, has previously represented
  other individuals against whom Ms. Lum Davis may potentially cooperate. Ms. Lum Davis also
  understands that Mr. Lowell has been notified by the United States Department of Justice that he
  may have potential civil and/or criminal exposure for conduct unrelated to this matter. Ms. Lum
  Davis has discussed these matters and the resulting potential conflicts of interest with Mr. Lowell
  and with third-party counsel and knowingly and intelligently waives any potential or actual conflict of
  interest as to Mr. Lowell and affirms that she wishes to proceed with Mr. Lowell as her counsel in
  this matter.

  -John

  John D. Keller
  Principal Deputy Chief
  Public Integrity Section
  United States Department of Justice
  1331 F St. NW | Washington, D.C. 20004
                 (Desk) |             (Cell)
Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 48 of 118 PageID.449




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Case 1:20-cr-00068-LEK             Document 55-2           Filed 05/04/22   Page 49 of 118 PageID.450


   From:             Keller, John (CRM)
   To:               Lowell, Abbe
   Subject:          RE: Conflict Provision
   Date:             Tuesday, August 25, 2020 9:51:00 PM


  I’m not—I’m not involved with the FARA piece. Feel free to edit the draft language. But we need to
  place on the record something to reflect the potential for you to be inclined to assist the
  government through facilitating Lum Davis’s cooperation in this matter in order to gain favor in your
  other unrelated dealings with the Department.


  From: Lowell, Abbe
  Sent: Tuesday, August 25, 2020 9:40 PM
  To: Keller, John (CRM)
  Subject: RE: Conflict Provision

  The letter did not say I have potential civil or criminal exposure or anything close. They wrote a
  letter asking for information as to if I needed to register. There is no indication at all that this was
  more than that or I had or have any intentional, willful act. These were/are the kinds of letters that
  are sent that might end up in a registration. Here there is not even that. Are you saying otherwise?
  If so, we need to get my counsel involved now at the very least.




   Abbe David Lowell
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   F: +1

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   New York, NY 10166-4193
   D: +1
   F: +1
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  From: Keller, John (CRM)
  Sent: Tuesday, August 25, 2020 9:28 PM
  To: Lowell, Abbe
  Subject: Conflict Provision
Case 1:20-cr-00068-LEK                   Document 55-2                 Filed 05/04/22              Page 50 of 118 PageID.451

  Abbe,

  I’ve drafted below a paragraph to be added to the plea agreement after the Waiver of Trial Rights
  Section to encompass the potential conflicts raised by the FARA letter, the issue to be discussed with
  the filter team, and the prior representation of individuals as to whom Ms. Lum Davis may provide
  information. This seems like a cleaner, more controlled way to address the potential conflict issue,
  rather than raising it at the plea hearing cold and having the court potentially initiate a full-blown
  colloquy with Ms. Davis about her understanding of the potential issues and conflict:

  Waiver of any Potential Conflict of Interest

  The defendant understands that one of her attorneys, Abbe D. Lowell, has previously represented
  other individuals against whom Ms. Lum Davis may potentially cooperate. Ms. Lum Davis also
  understands that Mr. Lowell has been notified by the United States Department of Justice that he
  may have potential civil and/or criminal exposure for conduct unrelated to this matter. Ms. Lum
  Davis has discussed these matters and the resulting potential conflicts of interest with Mr. Lowell
  and with third-party counsel and knowingly and intelligently waives any potential or actual conflict of
  interest as to Mr. Lowell and affirms that she wishes to proceed with Mr. Lowell as her counsel in
  this matter.

  -John

  John D. Keller
  Principal Deputy Chief
  Public Integrity Section
  United States Department of Justice
  1331 F St. NW | Washington, D.C. 20004
                 (Desk) |             (Cell)




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Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 51 of 118 PageID.452




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Case 1:20-cr-00068-LEK             Document 55-2            Filed 05/04/22   Page 52 of 118 PageID.453


   From:             Keller, John (CRM)
   To:               Lowell, Abbe
   Subject:          RE: Conflict Provision
   Date:             Tuesday, August 25, 2020 10:02:00 PM


  Thank you. Potential alternative language highlighted below.


  From: Lowell, Abbe
  Sent: Tuesday, August 25, 2020 9:53 PM
  To: Keller, John (CRM) <John.Keller@CRM.USDOJ.GOV>
  Subject: RE: Conflict Provision

  Thank you for the clarification. I will talk with Ms. Davis, Mac, and now others and talk with you
  tomorrow.




   Abbe David Lowell
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   New York, NY 10166-4193
   D:
   F: +
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  From: Keller, John (CRM)
  Sent: Tuesday, August 25, 2020 9:52 PM
  To: Lowell, Abbe
  Subject: RE: Conflict Provision

  I’m not—I’m not involved with the FARA piece. Feel free to edit the draft language. But we need to
  place on the record something to reflect the potential for you to be inclined to assist the
  government through facilitating Lum Davis’s cooperation in this matter in order to gain favor in your
  other unrelated dealings with the Department.

  From: Lowell, Abbe
Case 1:20-cr-00068-LEK           Document 55-2        Filed 05/04/22        Page 53 of 118 PageID.454

  Sent: Tuesday, August 25, 2020 9:40 PM
  To: Keller, John (CRM)
  Subject: RE: Conflict Provision

  The letter did not say I have potential civil or criminal exposure or anything close. They wrote a
  letter asking for information as to if I needed to register. There is no indication at all that this was
  more than that or I had or have any intentional, willful act. These were/are the kinds of letters that
  are sent that might end up in a registration. Here there is not even that. Are you saying otherwise?
  If so, we need to get my counsel involved now at the very least.




   Abbe David Lowell
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   F: +1

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   New York, NY 10166-4193
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   F: +1
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  From: Keller, John (CRM)
  Sent: Tuesday, August 25, 2020 9:28 PM
  To: Lowell, Abbe
  Subject: Conflict Provision

  Abbe,

  I’ve drafted below a paragraph to be added to the plea agreement after the Waiver of Trial Rights
  Section to encompass the potential conflicts raised by the FARA letter, the issue to be discussed with
  the filter team, and the prior representation of individuals as to whom Ms. Lum Davis may provide
  information. This seems like a cleaner, more controlled way to address the potential conflict issue,
  rather than raising it at the plea hearing cold and having the court potentially initiate a full-blown
  colloquy with Ms. Davis about her understanding of the potential issues and conflict:

  Waiver of any Potential Conflict of Interest
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Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 55 of 118 PageID.456




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Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 56 of 118 PageID.457
Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 57 of 118 PageID.458




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Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 58 of 118 PageID.459
Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 59 of 118 PageID.460




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Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 60 of 118 PageID.461
Case 1:20-cr-00068-LEK                  Document 55-2                Filed 05/04/22             Page 61 of 118 PageID.462

  public computers (such as libraries or hotels) or using a public wireless internet connection. The effect of the loss of
  confidentiality will be the loss of attorney-client privilege and the possibility that such communications may not be protected from
  disclosure in any legal procedure in which you are involved. You are cautioned to act accordingly.
Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 62 of 118 PageID.463




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Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 63 of 118 PageID.464
Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 64 of 118 PageID.465
Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 65 of 118 PageID.466




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Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 66 of 118 PageID.467
Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 67 of 118 PageID.468




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Case 1:20-cr-00068-LEK                  Document 55-2           Filed 05/04/22        Page 68 of 118 PageID.469

   From:            Sorenson, Ken (USAHI)
   To:              Keller, John (CRM)
   Subject:         RE: Nickie Davis - Waiver of Indictment
   Date:            Friday, August 28, 2020 3:34:57 PM


  John: Stand by, I’m teleworking today and having some computer issues.

  From: Keller, John (CRM) <John.Keller@CRM.USDOJ.GOV>
  Sent: Friday, August 28, 2020 8:47 AM
  To: Lowell, Abbe <ADLowell@winston.com>; William C. McCorriston <WMcCorriston@m4law.com>
  Cc: Sorenson, Ken (USAHI) <KSorenson@usa.doj.gov>
  Subject: RE: Nickie Davis - Waiver of Indictment

  Thanks.

  Ken, can you and Mike sign the page for the sealed addendum and resend?

  From: Lowell, Abbe
  Sent: Friday, August 28, 2020 2:42 PM
  To: Keller, John (CRM)                                      >; William C. McCorriston
  Cc: Sorenson, Ken (USAHI)
  Subject: RE: Nickie Davis - Waiver of Indictment




   Abbe David Lowell
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   F: +1

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   New York, NY 10166-4193
   D: +1
   F: +1
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  From: Keller, John (CRM)
  Sent: Friday, August 28, 2020 2:33 PM
  To: William C. McCorriston
  Cc: Sorenson, Ken (USAHI)                                   ; Lowell, Abbe
  Subject: RE: Nickie Davis - Waiver of Indictment
Case 1:20-cr-00068-LEK             Document 55-2            Filed 05/04/22         Page 69 of 118 PageID.470

  Thanks, Bill.

  Abbe, can you circulate to this group both documents including your signature as well as soon as possible? Then
  we will just need Ken and Mike’s signatures on the sealed addendum and I can sign and transmit to the Court,
  copying all counsel.

  From: William C. McCorriston
  Sent: Friday, August 28, 2020 2:28 PM
  To: Keller, John (CRM)
  Cc: Sorenson, Ken (USAHI)                              Lowell, Abbe
  Subject: RE: Nickie Davis - Waiver of Indictment

  Attached are the signature pages for the Sealed Addendum and Plea Agreement.

  Bill

  From: Keller, John (CRM)
  Sent: Thursday, August 27, 2020 5:12 PM
  To: William C. McCorriston
  Cc: Sorenson, Ken (USAHI                                  Lowell, Abbe
  Subject: RE: Nickie Davis - Waiver of Indictment

  Sealed addendum attached for signatures. Ken—if you and Mike are in the office, can you recirculate to the
  group with your signatures first?

  If not, I imagine that we’ll have to pass this around tomorrow given the hour.

  -John




  From: William C. McCorriston
  Sent: Thursday, August 27, 2020 10:33 PM
  To: Keller, John (CRM)
  Cc: Sorenson, Ken (USAHI)                              Lowell, Abbe
  Subject: Re: Nickie Davis - Waiver of Indictment

  Having trouble with Nickie’s WiFi. Can you email sig page one more time? Sorry.

  Sent from my iPhone


          On Aug 27, 2020, at 4:23 PM, Keller, John (CRM)                             wrote:


          Thanks, Bill. I’ll send the addendum shortly. Plea agreement signature page still forthcoming?


          From: William C. McCorriston
          Sent: Thursday, August 27, 2020 10:20 PM
          To: Sorenson, Ken (USAHI)                              Keller, John (CRM)
Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 70 of 118 PageID.471
Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 71 of 118 PageID.472




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Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 73 of 118 PageID.474
Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 74 of 118 PageID.475




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Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 76 of 118 PageID.477
Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 77 of 118 PageID.478




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Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 79 of 118 PageID.480
Case 1:20-cr-00068-LEK   Document 55-2   Filed 05/04/22   Page 80 of 118 PageID.481




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     Case 1:20-cr-00068-LEK           Document 55-2          Filed 05/04/22   Page 82 of 118 PageID.483
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                 7
Number:

DocketText:
MEMORANDUM OPINION regarding [1] Government's Ex Parte, In Camera Application Seeking
Authorization to Review Certain Attorney-Client Communications. Signed by Chief Judge
Beryl A. Howell on August 28, 2020. Counsel have NOT been notified. (lcbah2) 


1:20ͲgjͲ00035ͲBAH*SEALED*Noticehasbeenelectronicallymailedto:

1:20ͲgjͲ00035ͲBAH*SEALED*Noticewillbedeliveredbyothermeansto::

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REDACTED NOTICE FOLLOWS



ThisisanautomaticeͲmailmessagegeneratedbytheCM/ECFsystem.PleaseDONOTRESPONDtothiseͲmail
becausethemailboxisunattended.
***NOTETOPUBLICACCESSUSERS***Thereisnochargeforviewingopinions.

NOTE:Thisdocketentry(orcase)isSEALED.Donotallowittobeseenbyunauthorizedpersons.

                                                   U.S.DistrictCourt

                                                  DistrictofColumbia

Notice of Electronic Filing

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DocumentNumber:Sealed(RequiresCM/ECFlogin)

DocketText:
Redacted due to sealed restriction. Docket text can be viewed via the unredacted NEF receipt
available here. (RequiresCM/ECFlogin)

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                                                Democracy Dies in Darkness




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By Beth Reinhard, Rosalind S. Helderman, Tom Hamburger and Josh Dawsey
February 5, 2021


A federal judge in South Dakota was blunt last summer when she sentenced Paul Erickson, a seasoned Republican
operative who had pleaded guilty to wire fraud and money laundering.

“What comes through is that you’re a thief, and you’ve betrayed your friends, your family, pretty much everyone you
know,” District Judge Karen E. Schreier told Erickson in July, before sentencing him to seven years in prison for
scamming dozens of people out of $5.3 million.

But Erickson, who had advised GOP presidential campaigns and a noted conservative organization, had a way out.

He had the support of White House adviser Kellyanne Conway, a member of President Donald Trump’s inner orbit.
And, unrelated to his conviction, he had been caught up in the investigation of Russia’s interference in the 2016
presidential campaign, an inquiry much reviled by Trump.

And so after less than five months in prison, Erickson received a pardon and was freed on Inauguration Day      part
of a blizzard of 144 clemency grants issued in Trump’s final hours in office after a process marked by unprecedented
favoritism and a rush by well-paid lobbyists.

Erickson and his attorney declined to comment.

“I was completely blindsided,” said Lisa Coll Nicolaou, a New Jersey teacher whom Erickson persuaded to invest in a
fraudulent medical device company after befriending her at their 25th college reunion. Contrary to Trump’s oft cited
pledge to root out corruption in Washington, Coll Nicolaou said, “he pardoned the swamp.”

The Constitution gives the president the virtually unchecked power to grant clemency. Trump’s use of that power
reflected how he viewed the presidency through the prism of his own interests and as a way to reward friends and
spite enemies, according to longtime clemency advocates and people who participated in the process.
His transactional approach largely sidelined
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the Justice Department and elevated those with personal connections to the White House       or the money to pay
someone with those connections.

Even Trump allies who advised the White House on clemency say they were startled and disappointed by who was
on the final list.

In all, Trump granted 237 pardons and commutations, according to the Justice Department, the majority of which
he issued in a frantic final session with White House lawyers during his last night as president. A Washington Post
review of pardon records found that about 100 of those granted clemency had never even petitioned the Justice
Department’s Office of the Pardon Attorney, which reviews applications using standardized criteria to impose order
and fairness on the process. Only about one third of the grants went to drug offenders serving long sentences.

An additional 14,000 people who had filed petitions under the federal guidelines were left in limbo.

“Along with the devastating harm Trump wrought upon clemency as an institution are the unfathomable injustices
of Trump diverting the power from those critically needing and warranting clemency to his menagerie of
undeserving recipients,” said Larry Kupers, who ran the pardon office at the beginning of the Trump administration.

Former White House officials did not respond to requests for comment.

When President Bill Clinton pardoned 140 people on his last day in office in 2001, including fugitive financier and
Democratic donor Marc Rich, Republicans railed against what they dubbed “Pardongate,” and criminal and
congressional investigations were opened.

There has been little such blowback for Trump, whose last-minute pardon spree has been eclipsed by the fallout
from the Jan. 6 attack on the U.S. Capitol by his supporters, including his second impeachment.

Rep. Steve Cohen (D-Tenn.), whose House Judiciary subcommittee will hold a hearing Tuesday on preventing abuse
of the clemency process, said a full scale congressional investigation of Trump’s pardons is needed.

Cohen pointed to Alice Johnson — a former Tennessee resident imprisoned for nearly 22 years for nonviolent drug
crimes — as an example of someone who was deserving of clemency but did not receive it until Kim Kardashian
West, a Trump-friendly celebrity, brought her name to the White House.

“Under Trump, pardon decisions were all about who you knew,” Cohen said. “The overall Trump record is a
perversion of the pardon power and an abuse of it.”

Rep. Adam B. Schiff (D-Calif.), chairman of the House Intelligence Committee, said this week he has deep concerns
about Trump’s pardons and will reintroduce legislation that would require the Justice Department and the White
House to provide detailed information to Congress about any presidential pardon or commutation involving the
president or his relatives, obstruction of Congress or contempt of Congress.

For years, criminal justice experts have pushed to overhaul the Justice Department’s backlogged system for vetting
pardon applicants, in which prosecutors wield significant influence. Some initially held out hope that a Trump
administration that touted its commitment to reforming the criminal justice system might improve the clemency
process, helping to alleviate the racial inequities in the country’s prison population.

Instead, pardons were doled out haphazardly, driven largely by personal connections rather than public policy
decisions, according to people with knowledge of the decisions. And even some of those whose clients benefited
acknowledge that the process broke down.
Brett Case
      Tolman, a former U.S. attorney,Document
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                                                                                        118       while also
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charging some clients to lobby for their clemency.

Although he says he thinks the traditional process run by the Justice Department is flawed, “I also don’t like this
informal system that developed with the Trump White House, in which people were pushing to get their names in,”
he added. “That, to me, is not a system that is right, because there are thousands of people who don’t have that
chance.”




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By late 2019, Trump seemed intent on identifying people with compelling stories who were deserving of clemency,
such as Johnson, who had been sentenced to life for a first-time drug offense.

That October, more than one year after her release, she was invited to attend a speech the president gave on criminal
justice reform in Columbia, S.C. In the middle of his remarks, Trump called on Johnson to help him find other
inmates worthy of pardons.

Johnson said she took Trump at his word. She became part of an informal kitchen cabinet that included Tolman,
who echoed Trump’s concerns about voter fraud in the November presidential election; Mark Holden, chairman of
the conservative group Americans for Prosperity; Matt Whitaker, a former acting U.S. attorney general under
Trump; and Pam Bondi, a former Florida attorney general who represented the president in his first impeachment.

The group viewed itself as part of a White House initiative — led by Trump’s son-in-law, Jared Kushner — aimed at
creating a more organized and streamlined clemency system.

But soon, a cottage industry emerged of lawyers and lobbyists who sought to leverage their access to the White
House for clients seeking pardons.

Among those who were paid to lobby last year for pardon seekers, according to public records, were Jack Burkman,
a political operative who has repeatedly spread debunked claims and commanded more than $92,000 from the wife
of one convicted fraudster who did not secure a pardon; Joshua Nass, a New York-based public relations executive
who received $100,000 in December from four clients, none of whom received clemency; and Nick Muzin, a former
top aide to Sen. Ted Cruz (R-Tex.) who has worked as a foreign agent for Qatar.

Muzin reported receiving $75,000 to lobby on behalf of Eliyahu Weinstein, who served eight years of a 24-year
sentence for a real estate fraud that bilked investors out of $200 million, according to court filings. Trump
commuted his sentence. Muzin said in an email that he is “proud” of the role his firm played in giving Weinstein “a
second chance.”

Nass said he pushed successful clemency petitions earlier in the Trump administration and sought to “manage
expectations” for his clients so that they understood the “great challenge.”

Burkman did not respond to requests for comment.

Separately, the D.C.-based Sonoran Policy Group publicly registered Monday as a lobbyist seeking a presidential
commutation in connection with George Nader, an international business executive who tried to broker ties between
the United States and foreign leaders before he pleaded guilty to child sex charges. According to the filing, which did
not disclose the amount of the fee, the group’s registration was effective as of Dec. 17.
Nader, who 1:20-cr-00068-LEK
    Case   was sentenced in June to Document
                                    10 years in prison,
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Sonoran firm, declined to comment.

Alan Dershowitz, who served as a lawyer for Trump during his first impeachment, said he also was hired by Nader’s
team in late 2019 to advise on legal issues and that they discussed clemency, but he said he did not help Nader file a
petition and his advice was “not encouraging.” Dershowitz was named in the White House release as having
endorsed four successful pardon requests among Trump’s final grants of clemency.

“Knowing who to call in the White House is a not a guarantee of success by any means,” he said. “I had a mixed
record.”

It is unclear how many lobbyists were paid to pursue Trump pardons. Federal lobbying guidelines do not explicitly
cover appeals for clemency, and lawyers and other advocates have not traditionally registered as federal lobbyists
when seeking pardons. A Justice Department investigation of allegations of unregistered lobbying for a pardon
revealed in heavily redacted court documents unsealed in December — may have spurred some lobbyists to disclose
their clients and fees.

Tolman, who served as U.S. attorney in Utah during the George W. Bush administration and went on to advocate for
changes in the criminal justice system, had been involved in policy discussions with the White House when he
registered as a lobbyist for eight people seeking pardons last year.

He said he started charging lobbying fees of up to $25,000 because he was trying to keep up his law practice while
juggling a flood of clemency requests, some of which demanded as much work as preparing for trial.

“It was a labor of love borne more out of my desire to change the system and my compassion for those individuals
than it was for my financial gain,” he said.

Tolman said he also advocated during the Trump administration for at least 20 other people on a pro bono basis.
They mostly included drug offenders serving long sentences, as well as well-heeled insiders such as Kushner’s father,
real estate developer Charles Kushner, who pleaded guilty in 2004 to making false statements to the Federal
Election Commission. Trump granted Kushner a pardon in December.

Tolman said that although he had not spoken to Trump personally since late November, he was able to directly email
the White House Counsel’s Office — an advantage he realizes many others who deserved pardons did not have.

“I don’t think it’s inconsistent to say I wanted to get clemencies and that was the damn system we had to deal with
it,” he said.

He registered as a lobbyist, he said, to “err on the side of transparency.”

But in the two cases in which his clients received clemency, the White House identified Tolman as a former U.S.
attorney who backed the requests      not as a paid lobbyist. He noted that his lobbyist registrations were public.

The biggest fee reported by the clemency seeking lobbying corps went to a staunch Trump ally: Matt Schlapp,
chairman of the American Conservative Union, who charged $750,000 for about a month of work, public filings
show.

Schlapp’s lobbying client was Parker “Pete” Petit, an Atlanta-area biopharmaceutical executive convicted of
securities fraud on Nov. 19. His attorneys were trying to move quickly to secure a pardon before Trump left office.

“Pete Petit is 81 years old and suffering from bladder cancer. A sentence of incarceration for Mr. Petit would be the
equivalent of a death sentence,” Michael Volkov, one of Petit’s attorneys, said in a written statement to The Post.
Although
     Casethe1:20-cr-00068-LEK
             longtime Republican donor had served
                                   Document       as finance
                                               55-2     Filedchairman
                                                              05/04/22for the Trump
                                                                            Page  91campaign in Georgia in
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2016, Petit did not have a personal relationship with the president, according to people familiar with his case who
spoke on the condition of anonymity because of his upcoming sentencing.

Petit’s attorneys decided they needed someone who could plead his case directly to Trump. They contacted Schlapp,
the husband of former White House communications adviser Mercedes Schlapp.

Matt Schlapp referred questions to Volkov, who said in a statement that Schlapp reported the lobbying fee based on
legal advice and because “we all wanted to do this right.”

“Matt Schlapp agreed to help Mr. Petit seek a Presidential Pardon along with additional consulting services related
to Pete’s desire to pass on life lessons and play a role in criminal justice reform efforts,” he added.

Schlapp personally asked Trump about the pardon, according to a person familiar with the process. Petit’s team was
optimistic about his chances, but he was not on the final list.

The omission surprised Clayton Halunen, a Minnesota lawyer who represented a whistleblower involved in the Petit
case.

“When I looked the pardon list, I would have bet my life that his name would be on it — and that was before I
learned that he hired a lobbyist and paid $750,000,” Halunen said. “Obviously, there’s a big problem if you think
that you can use money to buy justice or forgiveness.”




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In the last days of the Trump administration, aides prepared paperwork for more than 400 pardons and
commutations as the president kept vacillating about which ones to grant, according to people involved in the
process who spoke on the condition of anonymity to describe the sensitive discussions.

Aides said Trump solicited clemency requests from a wide range of advisers, sometimes even offering pardons to
those who did not request them, and considered granting pardons to himself and his family members, though they
have not been charged with any crimes.

White House Counsel Pat Cipollone officially ran the process, but Trump’s daughter Ivanka Trump and Jared
Kushner served as key gatekeepers, the people said.

In the end, the final list that the White House released at 12:50 a.m. on Trump’s last night as president had been
assembled so hastily that it contained inaccurate information about some cases. Detailed background information
was provided about some clemency recipients and the people who had vouched for them, but there was little
information about others who were chosen.

Holden, of Americans for Prosperity, and other advocates were crushed to find that some inmates they had been told
would be freed were not.

“It’s like a sick joke, because we were so excited,” said Nick Scarmazzo of Modesto, Calif., whose younger brother,
Luke Scarmazzo, was seeking a commutation of a 22-year sentence for selling marijuana. “It would have been better
if we had never known he was close.”
Added Holden,
    Case      who had helped push Document
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others didn’t.”

Doug Deason, a major Texas-based Trump donor and supporter of criminal justice reform, said the White House
appeared “distracted” after the Jan. 6 attack on the Capitol, as he and other advocates pressed for commutations for
hundreds of inmates serving long sentences for nonviolent drug offenses.

“Everyone was disappointed,” Deason said of the clemency list. “I don’t know what happened to many of the names.”

Among those who made it on the list was Republican megadonor Elliott Broidy, who had raised millions for Trump’s
2016 presidential campaign.

His pardon was among several clemency grants that some top White House officials, including Cipollone, urged
Trump to resist, according to the people familiar with the process.

Justice Department guidelines recommend inmates wait five years after conviction or release from confinement
whichever comes later — before submitting a pardon application. Broidy, who had served as a top finance official at
the Republican National Committee, pleaded guilty to conspiring to act as an unregistered foreign lobbyist just three
months ago and had not even been sentenced.

His case touched directly on the Trump administration. In court filings, he acknowledged that he illegally lobbied
top White House officials to the benefit of Malaysian and Chinese interests without registering as required by law
and, as part of his illegal activity, attempted to broker a meeting between Trump and the Malaysian prime minister.
He also had a criminal record from a 2009 guilty plea in which he agreed that he gave illegal gifts to officials
involved in New York state’s pension fund.

The White House did not explain why Trump extended him mercy, beyond saying that Broidy is “well known for his
numerous philanthropic efforts” and citing 21 people, including several Trump allies, who endorsed his application.

Broidy has not spoken to Trump for two years and never spoke with him or any White House personnel about his
case, according to a representative for the Los Angeles-based investor. The representative added that the White
House indicated that Trump had heard from people he respected who supported the pardon request.

One former associate of Broidy was particularly upset about his pardon: Nickie Lum Davis, a Hawaii business
executive who pleaded guilty in August to aiding and abetting him in his lobbying efforts. She is set to be sentenced
in June.

As part of her plea, she had agreed to cooperate with the government, a decision that the Justice Department
generally views favorably. Trump, however, has shown disdain for people who cooperate with prosecutors.

Filings show that Davis paid $100,000 to a consulting firm led by Mark Cowan, a member of Trump’s transition
team, to try to secure clemency for herself but was unsuccessful.

Cowan declined to comment. William C. McCorriston, an attorney for Davis, said her submission to the White House
included letters of support and proof of her philanthropy. He said her legal team did not learn why Broidy was
pardoned and she was overlooked, even though she had acted in a secondary capacity to his crime.

He said she was “distraught.”

“She doesn’t understand how this equates to justice,” McCorriston said. “It is incomprehensible that any decision to
grant clemency to Mr. Broidy would not also include a pardon for Ms. Davis.”
H. Christopher Bartolomucci, an attorney
     Case 1:20-cr-00068-LEK              for Broidy,
                                    Document     55-2said in a statement
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pardon Mr. Broidy but not Ms. Lum Davis does not mean that his pardon was somehow improper or that she was
improperly denied one.”

Another pardon that generated criticism was the one that went to Erickson, a conservative political operative well
known in Republican circles.

Erickson came under the scrutiny of federal investigators because he was romantically linked to Maria Butina, a
Russian graduate student who pleaded guilty in 2018 to acting as an unregistered agent of the Kremlin.

As part of her plea, Butina admitted that she worked with an American political operative — identified by
government officials as Erickson — to advance Russia’s interests by forging ties with the National Rifle Association,
conservative leaders and presidential candidates such as Trump.

Butina served 15 months in prison and was then deported to Russia. Erickson was never charged in her case.

But in 2019, prosecutors in South Dakota accused him of wire fraud and money laundering connected to three
investment schemes dating to 1996. He agreed to plead guilty nine months later to two felonies in a case unrelated to
his work with Butina.

Among his many friends in Washington is Conway, who spoke to Trump and the White House Counsel’s Office
about his pardon, according to a person familiar with the discussions.

The Trump White House said in its statement about the final clemency grants that Erickson’s conviction “was based
off the Russian collusion hoax. After finding no grounds to charge him with any crimes with respect to connections
with Russia, he was charged with a minor financial crime.”

The language infuriated Erickson’s victims, who lost money in fraudulent businesses that had no connection to
Russia.

“Minor to who?” demanded Susan Holden, a Yale classmate of Erickson’s who at his urging had invested in a scheme
to build housing for workers in North Dakota’s Bakken oil fields.

For years, Holden said, Erickson lied to her on a near-daily basis about the project, guaranteeing that she would not
lose money. He even traveled to North Dakota to meet her and her 80-year-old mother, showing off a parcel of land
he claimed had been purchased with her money.

In fact, Erickson admitted in court that he never bought any land for the project. His pardon means he no longer has
to pay her or his other victims restitution.

“I was crushed,” Holden said. “All I could think of was, ‘Goddamnit, Trump, you didn’t even look into the case.
Kellyanne walked into your office and said, ‘This poor guy, Russia witch hunt’ — and you did it.’ ”

Asked about criticism of the pardon, Conway said, “President Trump reviewed the Erickson matter and hundreds of
requests like it at length with his legal counsel.” She added that she received no money for the pardon, adding, “It
had never crossed my mind that individuals would either offer or accept money with the expectation of a
presidential pardon.”




Carol D. Leonnig, Alice Crites, Aaron Schaffer and Amy Brittain contributed to this report.
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